                    Case 1:02-cr-05356-OWW Document 45 Filed 06/08/06 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
              TERRI LYNN STEITZ
                      (Defendant’s Name)                                  Criminal Number: 1:02CR05356-001


                                                                          Gary Huss
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) One through Five as alleged in the violation petition filed on May 11, 2006 .
[]  was found in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on November 18, 2003 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                             June 6, 2006
                                                                                    Date of Im position of Sentence


                                                                                       /s/ OLIVER W . W ANGER
                                                                                      Signature of Judicial Officer


                                                                         OLIVER W . W ANGER, United States District Judge
                                                                                 Nam e & Title of Judicial Officer


                                                                                                 June 8, 2006
                                                                                                    Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                1:02CR05356-001                                                              Judgment - Page 2 of 3
DEFENDANT:                  TERRI LYNN STEITZ

                                                       ADDITIONAL VIOLATION
                                                                                    Date Violation
Violation Num ber                    Nature of Violation                            Concluded

One                                  Use of Illicit Drugs                           03/17/2006

Two                                  Failure to Report for DNA Testing              04/05/2006

Three                                Irregular Subm ission of Monthly Supervision   Various 2006 dates
                                     Reports

Four                                 Irregular Paym ents Toward Restitution and     Various dates
                                     Special Assessm ent Balances

Five                                 Use of Illicit Drugs                           04/20/2006
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:02CR05356-001                                                               Judgment - Page 3 of 3
DEFENDANT:                 TERRI LYNN STEITZ



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 9 m onths .

The Bureau of Prisons shall determ ine any credit for tim e served.

The defendant shall continue to m ake regular paym ents on her restitution and penalty assessm ent obligations.




[]       The court m akes the following recom m endations to the Bureau of Prisons:




[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
